Case 1:19-cv-00804-ELH Document 8-1 Filed 03/29/19 Page 1 LAINTIFF’S
. EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

DAKOTA COMPTON *
Plaintiff, *
Vs. * Case No. 1:19-CV-00804 ELH
STATE OF MARYLAND, THE "
MARYLAND TRANSPORTATION
AUTHORITY MDTA *
AND *
SATISH BHARDWAJ *
Defendants, *

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FIRST AMENDED COMPLAINT
FOR
VIOLATIONS OF EMPLOYMENT CIVIL RIGHTS
Now Comes Dakota Compton, by and through his undersigned counsel, with knowledge
as to himself, and upon information and belief as to all else, hereby complains against the
Defendant State of Maryland, the Defendant Maryland Transportation Authority (MDTA) and
the Defendant Satish Bhardwaj, as follows:

NATURE OF CLAIM

 

1, This is an action for declaratory and injunctive relief and for damages, brought to remedy
violations of employment civil rights.

2. That the Plaintiff Dakota Compton (hereinafter “the Plaintiff’ or “Mr. Compton”)
exhausted all administrative prerequisites prior to filing this cause of action against the

Defendant State of Maryland and Defendant Maryland Transportation Authority
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(MDTA)(hereinafter collectively the “Defendant,” “Maryland MDTA” and/or “MDTA”).
A right to file lawsuit with this Honorable Court was issued and is attached hereto.
That the Plaintiff is an adult male resident of Baltimore County, Maryland. That at all
relevant times the Plaintiff was a full time employee of the MDTA. The Plaintiff reported
directly to MDTA supervisor, the Defendant Satish Bhardwaj (“Mr. Bhardwaj”).
That the Defendant Maryland MDTA operates as a state government agency responsible
for financing, constructing, operating, and maintaining Maryland public toll plaza
facilities, tunnels and bridges.
That all acts occurred in the State of Maryland and this Honorable Court has concurrent
jurisdiction over the subject matter involved in this case.
STATEMENT OF FACTS
PLAINTIFF’S JOB AND PERFORMANCE
That the Plaintiff began work for Defendant Maryland MDTA in August, 2010. He was
hired to work as a Facility Maintenance Technician and promoted to a position known as
Customer and Revenue Agent.
That throughout his employment with MDTA, the Plaintiff always performed his position
well and exceeded reasonable expectations of supervisors. Mr. Compton met and
exceeded all reasonably objective performance standards. He was promoted and received
increases in pay several times.
SEXUAL HARASSMENT
The Plaintiff at all relevant times throughout the incidents of this case directly reported to

MDTA supervisor Mr. Bhardwaj.
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That over a significant length of time which lasted a period of several months, nearly ona
daily basis, from August 1, 2016 to March 30, 2017, the Plaintiff was subjected to
unwelcome and unwanted lewd sexual acts perpetrated by the Defendant Satish
Bhardwaj, in the form of derogatory and extremely vulgar and abusive language,
pornographic material, sexual comments about Mr. Compton’s relationship with his
significant other, was invited repeatedly to engage in lewd sexual acts and Mr. Compton
was subjected to acts of battery and/or unwanted physical touching (hereinafter
collectively “sexual acts”).

Mr. Compton repeatedly requested that Mr. Bhardwaj leave him alone and cease and
desist from any further sexual acts. Notwithstanding such requests, the said sexual acts
continued. In fact, Mr. Bhardwaj appeared to take pleasure in humiliating Mr. Compton
and making Mr. Compton uncomfortable with such sexual acts.

The said sexual acts culminated with abusive physical contact wherein Mr. Bhardwaj
thrusted his genitals against Mr. Compton. All acts were unwanted and unwelcome.

Mr. Compton complained to Mr. Bhardwaj and Mr. Bhardwaj’s direct supervisor, Ms.
Sarah Jennifer Williams (“Ms. Williams”). Mr. Bhardwaj ignored and/or laughed at Mr.
Compton’s complaints. Ms. Williams did nothing to control or discipline Mr. Bhardwaj’s
behavior and the sexual acts continued.

All of the above sexual acts occurred when Mr. Bhardwaj was a direct supervisor of the
Plaintiff.

Upon information and belief, Mr. Bhardwaj had a prior history of perpetrating similar

sexual acts against MDTA employees. The MDTA knew or had reason to know that Mr.
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Bhardwaj engaged in a history of such sexual acts against other employees and that he
had a history of polluting the MDTA workplace with a hostile work environment.

That Mr. Compton continued to protest sock sexual acts of Mr. Bhardwaj, indicating that
he was the victim of employment civil rights violations and that Mr. Bhardwaj committed
acts of sexual harassment. No action was taken by the MDTA to discipline or remove Mr.
Bhardwaj from his position and the sexual harassment continued.

That Mr. Compton finally filed a complaint with the MDTA “internally” on or about
March 30, 2017 (“MDTA internal complaint”). As a result of same, the MDTA
conducted an investigation into Mr. Compton’s allegations against Mr. Bhardwaj
(“MDTA investigation”).

Following the said MDTA investigation, the MDTA fired Mr. Bhardwaj based on his
repugnant sexual acts against Mr. Compton. The MDTA determined there was
overwhelming evidence that Mr. Compton’s allegations were true.

There is no dispute, and can be no dispute, based on the MDTA’s own investigation, that
Mr. Compton was the unfortunate victim of sexual harassment as an MDTA employee.
There is no dispute, and can be no dispute, that Mr. Bhardwaj was the direct supervisor of
Mr. Compton at all relevant times, and accordingly, the MDTA is vicariously liable to
Mr. Compton for the acts of Mr. Bhardwaj.

Upon information and belief, the MDTA also administered disciplinary action against
Ms. Williams for not taking sufficient remedial acts to control and discipline Mr.
Bhardwaj. Ms. Williams was not discharged but separated from employment with the
MDTA shortly after the incidents of this case came to light (“‘separation”).

RETALIATION
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Prior to Ms. Williams’ said separation from the MDTA, and while the said MDTA
internal investigation was ongoing and the facts of this case were coming to light, Ms.
Williams unlawfully retaliated against Mr. Compton for his having pursued a sexual
harassment complaint against Mr. Bhardwaj.

Ms. Williams launched a personal campaign to smear Mr. Compton’s work record,
standing and reputation at the MDTA.

Ms, Williams created the illusion that Mr. Compton performed poorly at his position and
that he was responsible for a cash shortage.

Mr. Compton had an extensive history of exemplary employment with the MDTA over
many years of service. Before he complained he was the victim of sexual harassment, Mr.
Compton had never been disciplined, was never written up, nor accused that he
committed a work place rule violation. Mr. Compton enjoyed a stellar work history and
had always planned to retire from the MDTA.

Ms. Williams perpetrated false statements about Mr. Compton’s performance. Ms.
Williams fraudulently alleged that Mr. Compton was responsible for a “cash shortage.”
Instead of apologizing to Mr. Compton for her own poor management and otherwise
failing to control and discipline Mr. Bhardwaj for his sexual predatory acts against Mr.
Compton, Ms. Williams retaliated against Mr. Compton with false statements. Each and
every statement that Mr. Compton was somehow responsible for a cash shortage is a false
statement manufactured by Ms. Williams to smear Mr. Compton’s reputation, jeopardize
his employment with the MDTA and retaliate against him.

TANGIBLE EMPLOYMENT ACTION
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The above said acts of sexual harassment and retaliation were extremely unsettling and
abusive to Mr. Compton and Mr. Compton became very ill. Mr. Compton was so
physically and emotionally tortured, that he suffered a mental break down, was unable to
function mentally as he normally did, unable to work, and unable to return to his position
with the MDTA. This is the essence of a “tangible employment action.”

The MDTA ordered that Mr. Compton be evaluated by its psychiatric health expert, Dr.
Gabriel Newman, to assess his mental health and determine whether he was fit to
continue working for the MDTA. Mr. Compton complied with the MDTA’s request and
was examined by Dr. Newman on or about June 8, 2017.

According to Dr. Newman, Mr. Compton was so emotionally disturbed from the acts of
Mr. Bhardwaj and Ms. Williams that Mr. Compton was recommended by Dr. Newman,
the MDTA’s psychiatrist, not to return to his position. Dr. Newman wrote that Mr.
Compton’s injuries were supported from his assessment and “...it would not be possible
Jor Mr. Compton to return to work in his current circumstances and for him to perform
adequately, a fact that he acknowledges even while expressing great fear about the loss
of income or loss of his job...”

It should be considered that the MDTA referred Mr. Compton to Dr. Newman for
psychiatric evaluation and analysis and that Dr. Newman is the MDTA’s selected health
care provider, to fairly evaluate Mr. Compton’s fitness to return to work.

Due to the posttraumatic stress and other psychiatric injuries, Mr. Compton was unable to
return to his position with the MDTA and was forced to undergo medical leave.

The MDTA discharged Mr. Compton while Mr. Compton was on said medical leave.

CAUSES OF ACTION
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Count One

Violation of Maryland’s SGA Title 20
(Sexual Hostile Environment)

That Plaintiff reincorporates Paragraphs 1-32, as if fully set forth herein.

That the Plaintiff was at all relevant times a full time employee of the Defendant
Maryland MDTA and qualifies for relief as pursuant to Maryland’s State Government
Article Title 20 on Human Relations (hereinafter “SGA”), which Maryland state civil
rights and remedies mirror rights and remedies pursuant to its federal counterpart “Title
Vil”

That the above paragraphs 1 through 32, which are incorporated herein as if fully set
forth herein, constitute sex and/or gender discrimination and the creation of a sexual
hostile environment in violation of Maryland’s SGA Title 20, and the specified acts
against him were severe and/or pervasive and otherwise interfered with his ability to
perform.

That Plaintiff complained of said unlawful, unwanted and unwelcomed acts against him,
but obtained no relief.

That all of the above acts constitute a continuing violation of Plaintiff's rights to be free
from sexual discrimination, harassment and/or hostile work environment under Maryland
law.

The sexual harassment involved extremely offensive conduct which was both severe and
pervasive and created a hostile work environment that a reasonable person would
consider intimidating, hostile and abusive.

That Plaintiff was singled out from virtually all other employees. Plaintiff was repeatedly

subjected to physical and mental abuse by a direct supervisor.
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The said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to humiliation, emotional distress, and mental anguish.
That said unlawful acts were intolerable under reasonably objective and subjective
standards.
That the Defendants’ conduct resulted in Plaintiffs wrongful discharge, and
consequently inflicted economic and other harm on Plaintiffs well-being.
That Plaintiff suffered damages to his reputation, was caused to change employment, and
suffered humiliation and embarrassment and other emotional and physical pain and
suffering inflicted upon him for which he is entitled a remedy under Maryland SGA Title
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Count Two

Violation of Maryland’s SGA Title 20
(Retaliation)

That Plaintiff reincorporates Paragraphs 1-43, as if fully set forth herein.

That the Plaintiff was at all relevant times a full time employee of the Defendant MDTA
and therefore qualifies for relief as pursuant to Maryland’s SGA Title 20.

That the Defendant engaged in acts of retaliation against the Plaintiff which resulted in
loss of employment, loss of equal employment opportunities, loss of training and loss of
promotion.

There is no dispute, and can be no dispute, based on the MDTA’s own “investigation,”
that Mr. Compton was the unfortunate victim of sexual harassment as an MDTA
employee.

There is no dispute, and can be no dispute, that Mr. Bhardwaj was the direct supervisor of

Mr. Compton at all relevant times, and accordingly, the MDTA is vicariously liable to
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Mr. Compton for the acts of Mr. Bhardwaj, as Mr. Bhardwaj was Mr. Compton’s direct
supervisor.

Mr. Bhardwaj was fired based on his acts of sexual harassment against the Plaintiff.

Ms. Williams did not take action to control and discipline Mr. Bhardwaj.

Ms. Williams separated from employment with the MDTA after the incidents of this case
Prior to such separation from employment with the MDTA, Ms. Williams launched a
personal campaign to smear Mr. Compton’s work record, standing and reputation at the
MDTA.

Ms. Williams created the illusion that Mr. Compton performed poorly at his position and
that he was responsible for a cash shortage.

Mr. Compton has an extensive history of exemplary employment with the MDTA over
many years of service. Before he complained he was the victim of sexual harassment, Mr.
Compton had never been disciplined, never written up, nor committed a work place rule
violation. Before he was the victim of sexual harassment, Mr. Compton enjoyed a stellar
work history and planned to retire from the MDTA.

Mr. Compton was attacked by Ms. Williams with false statements about his performance.
Ms. Williams perpetrated fraudulent statements about Mr. Compton’s performance,
alleging Mr. Compton was responsible for a cash shortage.

Ms. Williams attacked and retaliated against Mr. Compton with false statements. Each
and every statement that Mr. Compton was somehow responsible for a “cash shortage” is
a false statement manufactured by Ms. Williams to smear Mr. Compton’s reputation and

employment with the MDTA.
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The above said acts of sexual harassment and retaliation were extremely unsettling and
abusive to Mr. Compton and Mr. Compton became very ill. Mr. Compton was so
physically and emotionally tortured, that he suffered a mental break down and was unable
to return to his position with the MDTA. This is the essence of a “tangible employment
action.”

The MDTA ordered that Mr. Compton be evaluated by its psychiatric health expert, Dr.
Gabriel Newman, to assess his mental health and determine whether he was fit to
continue working for the MDTA. Mr. Compton complied with the MDTA’s request and
was examined by Dr. Newman.

According to Dr. Newman, Mr. Compton was so emotionally disturbed from the acts of
Mr. Bhardwaj and Ms. Williams that Mr. Compton was recommended by Dr. Newman,
the MDTA’s psychiatrist, not to return to his position. Dr. Newman wrote that Mr.
Compton’s injuries were supported from his assessment and “...it would not be possible
for Mr. Compton to return to work in his current circumstances and for him to perform
adequately, a fact that he acknowledges even while expressing great fear about the loss
of income or loss of his job...”

It should be considered that the MDTA referred Mr. Compton to Dr. Newman for
psychiatric evaluation and analysis and that Dr. Newman is the MDTA’s selected health
care provider to fairly evaluate Mr. Compton’s fitness to return to work.

Due to the posttraumatic stress and other psychiatric injuries, Mr. Compton was unable to
return to his position with the MDTA and forced to undergo medical leave.

The MDTA discharged the Mr. Compton while Mr. Compton was on said medical leave.

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The Plaintiff was forced to seek medical leave based on the MDTA’s acts of sexual
harassment and retaliation.

That the Defendants retaliated against the Plaintiff for protesting civil rights violations as
an employee of the Defendant MDTA and voicing his concerns that he was the victim of
discrimination.

That the above facts have been timely filed and investigated by the Federal Equal
Employment Opportunity Commission over a period of several years under Charge
Number 531-2017-01488. Investigators at the EEOC spoke with persons directly
involved with the facts of this case and received correspondence from attorneys hired by
the Defendants to answer the charge filed by the Plaintiff.

The EEOC issued the Plaintiff a notice of suit rights. Please see the attached. Plaintiff
exhausted all administrative remedies with the EEOC prior to filing this suit and has the
right to file this case before this Honorable Court.

That the Defendants wrongfully discharged the Plaintiff in retaliation for his protestations
of being subjected to unlawful violations of employment civil rights.

That the Defendants’ acts of retaliation violate Maryland law as pursuant to Maryland’s
SGA Title 20.

The said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to humiliation, emotional distress, and mental anguish.

That the Defendants’ conduct resulted in Plaintiffs wrongful discharge and consequently

inflicted long term economic damages on the Plaintiff's well-being.

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That Plaintiff was left without employment, suffered damages to his reputation, standing,
was caused to change employment, suffered pain and suffering, and suffered other loss
for which he is entitled a remedy under Maryland’s SGA Title 20.

Count Three

Violation of Title VII
(Sexual Hostile Environment)

That Plaintiff reincorporates Paragraphs 1-71, as if fully set forth herein.
That the Plaintiff was at all relevant times a full time employee of the Defendant MDTA
and therefore qualifies for relief as pursuant to Title VII of the Civil Rights Act of 1964,

et. seq., as amended (“Title VII”).

That the above paragraphs 1 through 71, which are incorporated herein as if fully set
forth herein, constitute sex and/or gender discrimination and sexual hostile environment
in violation of Title VII, and the specified acts against him were severe and/or pervasive
and otherwise interfered with his ability to perform.

That Plaintiff complained of said unlawful, unwanted and unwelcomed acts against him,
but obtained no relief.

That all of the above acts constitute a continuing violation of Plaintiff's rights to be free
from sexual discrimination, harassment and/or hostile work environment under Maryland
law.

The sexual harassment involved extremely offensive conduct which was both severe and
pervasive and created a hostile work environment that a reasonable person would

consider intimidating, hostile and abusive.

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That Plaintiff was singled out from virtually all other employees. Plaintiff was repeatedly
subjected to physical and mental abuse by a direct supervisor.
The said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to humiliation, emotional distress, and mental anguish.
That said unlawful acts were intolerable under reasonably objective and subjective
standards.
That the Defendants’ conduct resulted in Plaintiff's wrongful discharge, and
consequently inflicted economic and other harm on Plaintiff's well-being.
That Plaintiff was left without employment, suffered damages to his reputation, standing,
was caused to change employment, suffered pain and suffering, humiliation and
embarrassment and other emotional and physical pain and suffering inflicted upon him
for which he is entitled a remedy under Title VIZ

Count Four

Violation of Title VII

(Retaliation)
That Plaintiff reincorporates Paragraphs 1-82, as if fully set forth herein.
That the Plaintiff was at all relevant times a full time employee of the Defendant MDTA
and therefore qualifies for relief as pursuant to Title VII.
That the Defendant engaged in acts of retaliation against the Plaintiff which resulted in

loss of employment, loss of equal employment opportunities, loss of training and loss of

promotion.

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There is no dispute, and can be no dispute, based on the MDTA’s own “investigation,”
that Mr. Compton was the unfortunate victim of sexual harassment as an MDTA
employee.

There is no dispute, and can be no dispute, that Mr. Bhardwaj was the direct supervisor of
Mr. Compton at all relevant times, and accordingly, the MDTA is vicariously liable to
Mr. Compton for the acts of Mr. Bhardwaj, as Mr. Bhardwaj was Mr. Compton’s direct
supervisor.

Mr. Bhardwaj was fired based on his acts of sexual harassment against the Plaintiff.

Ms. Williams did not take action to control and discipline Mr. Bhardwaj.

Ms. Williams separated from employment with the MDTA after the incidents of this case
Prior to such separation from employment with the MDTA, Ms. Williams launched a
personal campaign to smear Mr. Compton’s work record, standing and reputation at the
MDTA.

Ms. Williams created the illusion that Mr. Compton performed poorly at his position and
that he was responsible for a cash shortage.

Mr. Compton filed an EEO complaint with the MDTA “internally” on March 30, 2017.
As a result of same, the MDTA conducted an investigation into Mr. Compton’s
allegations against Mr. Bhardwaj.

Ms. Sara Cabrera, Chief of the MDTA’s Equal Employment Opportunity and Fair
Practices Department, was in charge of that investigation. Her investigation included a
thorough review of Mr. Compton’s complaint, and information obtained through

interviews with employees of the MDTA.

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That during the week of April 17, 2017, Ms. Jennifer Williams, Mr. Bardwaj’s
supervisor, approached the Plaintiff and expressed anger towards Plaintiff for going
outside her department to report Mr. Bardwaj’s behavior to MDTA management. Ms.
Williams berated Plaintiff telling him that Plaintiffs internal complaint insinuated that
she lost control of her department.

Plaintiff felt intimidated by Ms. Williams and became ill both mentally and physically.
On April 21, 2017, Ms. Sara Cabrera, Chief of the Defendant MDTA’s Equal
Employment Opportunity and Fair Practices Department, stated as follows in her letter to
Plaintiff: “I have conducted an internal investigation into this matter. The investigation
included a thorough review of your complaint, and information obtained through
interviews. Based on this investigation, there was sufficient evidence to support your
complaint as alleged.”

There is no dispute, and can be no dispute, based on the MDTA’s own investigation, that
Mr. Compton was the unfortunate victim of sexual harassment as an MDTA employee.
There is no dispute, and can be no dispute, that Mr. Bhardwaj was the direct supervisor of
Mr. Compton at all relevant times. There is also no dispute that Ms. Williams was the
supervisor at all relevant times of Mr. Bhardwaj, and that based on Ms. Williams’ acts
and/or failure to act, Mr. Bhardwaj committed acts of sexual harassment and Ms.
Williams’s acts enabled Mr. Bhardwaj to continue undisciplined and uncontrolled
unlawful acts against Mr. Compton. Mr. Bhardwaj has a history of sexually harassing
employees which predated the events in this case.

Ms. Williams’ anger which was directed at Mr. Compton was expressed throughout her

subsequent communications and continuously after the MDTA investigation findings

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were published. Ms. Williams was noticeably angry with Mr. Compton and did not speak
to him professionally and/or the same way she did before he filed the internal complaint
of March 30, 2017.

That in the wake of the findings of the MDTA investigation which validated Mr.
Compton’s charge of sexual harassment, Ms. Williams began a deliberate and maligned
campaign against the Plaintiff in retaliation for having brought the Bardwaj matter to
MDTA management. She unleashed a flurry of fabricated and fraudulent “disciplinary”
reports and warnings intended to besmirch the Plaintiff's work history, and otherwise get
him fired as soon as she could.

Mr. Compton was out of the office and ill due to stress and anxiety from April 24 through
April 26, 2017.

On April 27, 2017, Ms. Williams wrote the Plaintiff up as part of a “written reprimand”
for an incident that allegedly occurred more than four (4) weeks earlier on March 26,
2017. On April 27, 2017 it was alleged by Ms. Williams that Mr. Compton did not report
to a manager that there was a short of $10.00 (ten dollars), and that this “careless
mishandling of MDTA revenues may lead to more severe disciplinary action, up to and
including charges for termination.” The truth was that the $10.00 short was detected by
Mr. Compton and brought to the attention of his manager — Mr. Bhardwaj. Mr. Bhardwaj
advised Mr. Compton that he [Bhardwaj] would take care of the alleged discrepancy and
no further action was necessary by Mr. Compton. Ms. Williams knew this [that Mr.
Bhardwaj was responsible for taking care of the said $10.00 discrepancy and notified of

same], and this was no issue whatsoever. However, after the MDTA EEOC Chief issued

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her findings on April 21, 2017, Ms. Williams reached back four weeks, ignored what
occurred in the interim and slandered Mr. Compton on April 27, 2017.

On the same day, April 27, 2017, Ms. Williams asserted that a customer “wrote a letter”
about Mr. Compton which asserted that he was impolite to a customer. Ms. Williams
stated to Mr. Compton that she was “writing him up” and that his acts towards the
customer could result in his termination. Mr. Compton denied that he behaved in any
manner that was not professional and asked to see the letter which Ms. Williams alleged
the “customer” wrote about his behavior. Ms. Williams refused to present the letter to
him. No letter exists. Mr. Compton at no time was impolite to a customer of the MDTA.
This act by Ms. Williamss against Mr. Compton was another act of retaliation for his
filing a charge that he was the victim of sexual harassment.

Two days later, April 29, 2017, Ms. Williams again retaliated against Mr. Compton. Ms.
Williams asserted the false statement that Mr. Compton made a “threatening statement”
and that such statement was an act of “workplace violence.” There is no truth whatsoever
that Mr. Compton uttered a threatening statement or committed an act of workplace
violence toward anyone at any time. On the day in which Ms. Williams claims the
Plaintiff made such threatening statement, Mr. Compton was not at work. Ms. Williams
claims Mr. Compton made a threatening statement on April 26, 2017. Mr. Compton was
at home resting on April 26, 2017 because he was suffering from stress and anxiety
caused by Ms. Williams and Mr. Bhardwaj. Ms. Williams also claimed Mr. Compton
made a similar statement on April 27, 2017 in the presence MDTA employee Stephanie
Melchor. Stephanie Melchor was contacted about this and asserted that no such statement

was uttered by Mr. Compton.

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Mr. Compton has a physician note which confirms he was excused from work on April
26, 2017 and was not working on the date Ms. Williams lied and stated that he committed
an act of workplace violence. Mr. Compton at no time ever made a threatening statement.
Ms. Williams’ fraudulent statement that Mr. Compton made a threatening statement and
committed an act of workplace violence was solely and completely an act of retaliation
against Mr. Compton for filing a claim that he was the victim of sexual harassment as an
MDTA employee — which the MDTA independently verified was credible and supported
from the MDTA’s findings.

Next, only two days later on May 1, 2017, Mr. Compton was subjected to another act of
retaliation. Ms. Williams created the story that “Mr. Compton mishandled MDTA funds.”
This assertion is a false statement of fact.

During the ordinary course of business, MDTA employee Sherri Lapin came to the
MDTA “money room” to exchange approximately three thousand and nine hundred
dollars from larger bills to smaller bills. Both Mr. Compton and Ms. Amber Criner
participated with this transaction. Once the bills were broken down to smaller
denominations, the money was recounted and a bank deposit created. Ms. Lapin then left
with the money after the money was counted by all. A short time later, Ms. Criner and
Mr. Compton noticed they had an overage of five hundred dollars. They immediately
called Ms. Lapin and asked her to recount the money she left with and was to deposit.
Ms. Lapin realized she was $500 short. Mr. Compton and Ms. Criner promptly gave her
the $500 overage. Ms. Lapin mistakenly did not collect all bills for deposit initially and

this counting error was promptly corrected. No one should have been disciplined—this

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inadvertent error occasionally occurs in the ordinary course of operations and all money
was properly accounted for.

It was revealed later that the two co-workers who allegedly committed the same “error”
as Mr. Compton were treated differently. Ms. Lapin received no penalty and charged no
loss of compensable leave time whatsoever. Ms. Criner received one (1) day of lost
compensable leave time. Mr. Compton on the other hand was punished with three (3)
days of lost compensable leave time. There can be no dispute Mr. Compton was treated
worse than the two similarly situated employees who committed the same alleged
“error.” However, the similarly situated employees — Lapin and Criner — were not the
victim of sexual harassment and did not file a charge of sexual harassment against the
Defendant MDTA.

That prior to filing a charge of discrimination and sexual harassment on March 30, 2017,
over a period of nine years, Mr. Compton was never disciplined and had never been
“written up.” Over those nine years Mr. Compton was promoted and offered raises in
pay.

After Mr. Compton filed a charge of sexual harassment on March 30, 2017, which charge
was validated and supported by evidence based on the independent investigation of the
MDTA, which concluded with a written statement issued by the MDTA on April 21,
2017, Mr. Compton was immediately and repeatedly attacked with false and misleading
statements and treated far worse than similarly situated employees who did not pursue
civil rights violations. Mr. Compton was written up twice on April 27, 2017, he was

written up again on April 29, 2017 and then again on May 1, 2017.

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As a result of the above acts, Mr. Compton fell into a deep state of despair, anxiety,
depression and suffered a mental breakdown. He physically and mentally could not return
to work for the MDTA.

Mr. Compton was falsely accused of being unprofessional to a customer, Mr. Compton
was falsely accused of committing an act of workplace violence on a day he wasn’t at
work. Mr. Compton was fraudulently labeled a thief throughout his department, and it
was stated that Mr. Compton couldn’t be trusted and “mishandled money,” all of which
are slanderous and blatantly false statements. These retaliatory acts against Mr. Compton,
and many other acts of the Defendant MDTA, were perpetrated against Mr. Compton in
retaliation for his having filed a charge of sexual harassment — after the MDTA
management determined from its own investigation his charge was accurate and credible.
Moreover, Ms. Williams expressed anger and contempt towards Mr. Compton in
retaliation for his having engaged in protected acts of filing and participating with a
charge of discrimination and sexual harassment which violate Title VII.

Mr. Compton was attacked by Ms. Williams with false statements about his performance.
Ms. Williams perpetrated fraudulent statements about Mr. Compton’s performance
alleging Mr. Compton was responsible for a cash shortage,

Ms. Williams attacked and retaliated against Mr. Compton with false statements. Each
and every statement that Mr. Compton was somehow responsible for a “‘cash shortage” is
a false statement manufactured by Ms. Williams to smear Mtr. Compton’s reputation and
employment with the MDTA.

The above said acts of sexual harassment and retaliation were extremely unsettling and

abusive to Mr. Compton and Mr. Compton became very ill. Mr. Compton was so

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physically and emotionally tortured, that he suffered a mental break down and was unable
to return to his position with the MDTA. This is the essence of a “tangible employment
action.”

The MDTA ordered that Mr. Compton be evaluated by its psychiatric health expert, Dr.
Gabriel Newman, to assess his mental health and determine whether he was fit to
continue working for the MDTA. Mr. Compton complied with the MDTA’s request and
was examined by Dr. Newman.

According to Dr. Newman, Mr. Compton was so emotionally disturbed from the acts of
Mr. Bhardwaj and Ms. Williams that Mr. Compton was recommended by Dr. Newman,
the MDTA’s psychiatrist, not to return to his position. Dr. Newman wrote that Mr.
Compton’s injuries were supported from his assessment and “...it would not be possible
Jor Mr. Compton to return to work in his current circumstances and for him to
perform adequately, a fact that he acknowledges even while expressing great fear
about the loss of income or loss of his job...”

It should be considered that the MDTA referred Mr, Compton to Dr. Newman for
psychiatric evaluation and analysis and that Dr. Newman is the MDTA’s selected health
care provider to fairly evaluate Mr. Compton’s fitness to return to work.

Due to the posttraumatic stress and other psychiatric injuries, Mr. Compton was unable to
return to his position with the MDTA and forced to undergo medical leave, which leave
was recommended by the MDTA’s neuropsychologist who examined him.

On May 8, 2017, Plaintiff filed a charge of discrimination with the United States Federal

Equal Employment Opportunity Commission.

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After Mr. Compton underwent a period of therapy and after he was mentally and
physically able to return to his position, the Defendant did not permit Mr. Compton to
return to his position. On June 30, 2017, the MDTA offered Mr. Compton one of three
choices: (1) Mr. Compton could return to work in the capacity of “facility maintenance”
which was a demotion in work responsibilities and reduction in paygrade, (2) apply for
retirement or (3) resign.

That the Defendants retaliated against the Plaintiff for protesting civil rights violations as
an employee of the Defendant MDTA and voicing his concerns that he was the victim of
discrimination. As noted above, the Plaintiff suffered tangible loss, economic loss and
was involuntarily and/or constructively discharged from his employment when he refused
to return to work in the capacity of facility maintenance.

That the above facts have been timely filed and investigated by the Federal Equal
Employment Opportunity Commission over a period of several years under Charge
Number 531-2017-01488. Investigators at the EEOC spoke with persons directly
involved with the facts of this case and received correspondence from attorneys hired by
the Defendant to answer the charge filed by the Plaintiff.

The EEOC issued the Plaintiff a notice of suit rights. Please see the attached. Plaintiff
exhausted all administrative remedies with the EEOC prior to filing this suit and has the
right to file this case before this Honorable Court.

That the Defendant MDTA wrongfully discharged, involuntarily and/or constructively
discharged the Plaintiff in retaliation for his protestations of being subjected to unlawful
violations of employment civil rights.

That the Defendant MDTA’s acts of retaliation violate Title VII.

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The said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to humiliation, emotional distress, and mental anguish.
That the Defendant MDTA’s conduct resulted in Plaintiff's wrongful discharge and
consequently inflicted economic damages on the Plaintiffs well-being.
That Plaintiff was left without employment, deprived of economic wages, suffered losses
in back pay and front pay, suffered damages to his reputation, was caused to change
employment, suffered wage loss and other economic and financial loss for which he is
entitled a remedy under Title VII.
That the Defendants’ acts wrongfully discharged the Plaintiff in violation of Title VII
That the Defendants’ conduct inflicted long term economic damages on the Plaintiff's
well-being.
That Plaintiff was left without employment, suffered damages to his reputation, standing,
was caused to change employment, suffered pain and suffering, humiliation and
embarrassment and other emotional and physical pain and suffering inflicted upon him
for which he is entitled a remedy under Title VIL
That the Plaintiffs employment records and history with the Defendants was forever
altered.
Count Five
(Battery)
Against Defendant Bhardwaj
That Plaintiff reincorporates Paragraphs 1-134, as if fully set forth herein.
That the Defendant Bhardwaj engaged in acts which included unlawful attempts to cause
harmful and offensive contact with the Plaintiff and/or caused an apprehension of such

contact.

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That the Defendant Bhardwaj engaged in acts which included intentional and unlawful
threats, by words and/or acts, which physically harmed the Plaintiff.
That the Plaintiff believed that the Defendant Bhardwaj at all relevant times had the
ability to carry out such threats.
That the Plaintiff was placed in reasonable fear of imminent harm as a result of the
Defendant Bhardwaj’s acts.
That offensive and intentional contact and/or touching occurred, which caused the
Plaintiffs physical and emotional pain, injury and illness.
That the offensive contact and/or touching occurred and offended the Plaintiff's
reasonable sense of personal dignity.
That the Plaintiff at no time consented to the above said acts perpetrated by the
Defendant Bhardwaj.
That the said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to humiliation, physical and emotional distress, and mental anguish.
That the Plaintiff was damaged by the acts of the Defendant Bhardwaj.

Count Six

(Intentional Infliction of Emotional Distress)
Against all Defendants

That Plaintiff reincorporates Paragraphs 1-144, as if fully set forth herein.
That the Defendants’ conduct was intentional and reckless.

That the Defendants’ conduct was extreme and outrageous.

That the Defendants’ conduct caused emotional distress to the Plaintiff.

That the Plaintiff's emotional distress was severe.

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The said course of conduct as set forth above proximately damaged the Plaintiff by
subjecting him to severe humiliation, physical and emotional distress, and mental
anguish.
That the Plaintiff was damaged by the acts of the Defendants.

RELIEF REQUESTED

As to Counts One through Six, the Plaintiff Dakota Compton respectfully requests that

this Honorable Court:

a.

DECLARE that the conduct complained of by Plaintiff against the Defendants is in

violation of the law;

PERMANENTLY ENJOIN the Defendants from engaging in all practices found by this

Court to be in violation of the law;

AWARD Plaintiff compensatory damages, damages for emotional and physical pain and

suffering, damages to his reputation, standing and employment history, economic

damages including back and/or front pay, liquidated damages, punitive damages where

permitted by law, and attorneys’ fees and costs for this litigation where permitted by law,

in the total amount of Five Hundred Thousand Dollars ($500,000.00), jointly and

severally, against the Defendant State of Maryland, the Defendant Maryland

Transportation Authority (MDTA) and the Defendant Satish Bhardwaj; and

GRANT such other and further relief to Plaintiff as the Court deems just and proper.
JURY DEMAND

The Plaintiff hereby prays for and requests a trial by jury.

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Respectfully submitted,

A Kw

Mark R. Millstein, Esquire

Fed Bar No. 14440

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Attorneys for the Plaintiff
Dakota Compton

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 29" day of March, 2019, a copy of the foregoing
documents were served upon the following via courts ECF e-mail delivery system and/or United
States mail postage prepaid:

Christy Fisher, Esq.

Megan E. Mohan, Esq.

Assistant Attorneys General

Office of the Attorney General
Maryland Transportation Authority
2310 Broening Highway
Baltimore, MD 21224

Satish Bhardwaj
8573 Stevenswood Road
Baltimore, MD 21244

 

Mark R. Millstein, Esq.

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DISMISSAL AND NOTICE OF RIGHTS

 

To: Dakota Compton From: Baltimore Field Office
4 Oak Grove Avenue G.H. Fallon Federal Building
Baltimore, MD 21228 31 Hopkins Plaza, Suite 1432

Baltimore, MD 21201

 

[] On behaif of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Phillip Hoefs,
531-2017-01488 Investigator (410) 209-2728

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

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The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS - ».

(See the additional information attached to this form. 7

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf ofthe Commission ITF

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Eniciosuree(s) J Rosemarie Rhodes; (Date Mailed)
Director

cc: =

Denise Green Mark Millstein, Esq.

EEO Lead Officer MILLSTEIN LAW OFFICES

Maryland Transportation Authority 110 East Lexington Street, Suite 300

2310 Broening Highway Baltimore, MD 21202
Baltimore, MD 21224
